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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF LOUISIANA
                    LAFAYETTE-OPELOUSAS DIVISION

 United States of America                              Criminal No: 06-60021-06

 versus                                                Judge Tucker L. Melançon

 Winters, et al                                             Magistrate Judge Hill
 defendant Chad Zeno

                                   JUDGMENT

       The Court is in receipt of United States Magistrate Judge C. Michael Hill’s

 Report and Recommendation [Rec. Doc. 151] regarding the Motion to Suppress [Rec.

 Doc. 64] filed by defendant Chad Zeno, and the government’s Opposition thereto

 [Rec. Doc. 78]. The Court, after having conducted an independent review of the

 record, including the objections filed by defendant [Rec. Doc. 152], has determined

 that the findings and recommendations are correct under the applicable law.

 Therefore, for the reasons stated in Judge Hill’s Report and Recommendation, it is

       ORDERED that the Motion to Suppress [Rec. Doc. 64] be GRANTED in part

 as to the items seized in the search of the premises located at 1121 South Magnolia

 Street, Lafayette, Louisiana on November 20, 2003.

          IT IS FURTHER ORDERED that the Motion is DENIED in part as to the

 evidence obtained from the search of the defendant’s person and the vehicle he was
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 driving on August 18, 2005; the items seized from defendant’s vehicle on October 14,

 2004; and the items seized from the search of defendant’s vehicle on May 17, 2000.

       Thus done and signed in Lafayette, Louisiana, this 8th day of January, 2007.




                                          2.
